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 5
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 6

 7

 8

 9                                 UNITED STATES DISTRICT COURT
10                                EASTERN DISTRICT OF CALIFORNIA
11

12   UNITED STATES OF AMERICA,                        No. 1:13-cr-00077-002
13                               Plaintiff,           STIPULATION FOR ORDER
                                                      EXONERATING BOND AND FOR
14          v.                                        RECOVEYANCE OF REAL PROPERTY,
                                                      AND ORDER THEREON
15   ROGELIO GONSALES RUBALCAVA
16                               Defendant.
17

18
            Defendant ROGELIO GONSALES RUBALCAVA, and Plaintiff, United States of
19
     America, hereby move this court for an order to exonerate the bond and reconvey real property in
20
     the above-captioned case.
21
            On March 5, 2013, Defendant appeared in this matter before the Honorable Barbara A.
22
     McAuliffe, United States Magistrate Judge, and was ordered released from custody under the
23
     supervision of Pretrial Services and a $ 50,000 real property bond. One property was used as
24
     collateral. A certified deed of trust and straight note was provided to this court by Defendant
25
     Rogelio Gonsales Rubalcava and his wife Teresa V. Rubalcava, filed April 8, 2013, recorded
26
     March 22, 2013. As Docket # 49 Deed Number 2013-0042858.
27
            On March 9, 2015, Mr. Rubalcava appeared, as required, before United States District
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                                                      1
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 1   Court Judge Lawrence J. O’Neill for sentencing, and thereafter surrendered himself to the Bureau

 2   of Prisons at Taft on April 20, 2015 to serve his sentence.

 3          Since Mr. Rubalcava has met the conditions of release in this matter, the Plaintiff and

 4   Defendant request that the court exonerate the bond set by this court and reconvey title to the real

 5   property securing the bond, Deed Number 2013-0042858.

 6   DATED: April 27, 2015                         FLETCHER & FOGDERUDE, INC.

 7                                                  /s/ Eric K. Fogderude     .
                                                   ERIC K. FOGDERUDE
 8
                                                   Attorney for Defendant,
 9                                                 ROGELIO GONSALES RUBALCAVA

10
     DATED: April 27, 2015                         Benjamin B. Wagner
11
                                                   United States Attorney
12
                                                   /s/ Kimberly Sanchez                      .
13                                                 KIMBERLY SANCHEZ
14                                                 Assistant US Attorney

15
                                                  ORDER
16
            IT IS SO ORDERED. That the bond in the above-captioned case be exonerated and title
17
     to the real property Deed Number 2013-0042858, be reconveyed to ROGELIO GONSALES
18
     RUBALCAVA and TERESA R. RUBALCAVA.
19

20   IT IS SO ORDERED.
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        Dated:     May 2, 2015                               /s/ Lawrence J. O’Neill
22                                                        UNITED STATES DISTRICT JUDGE

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